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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1134V
                                      Filed: August 6, 2019
                                         UNPUBLISHED


    JENNIFER ROBINSON,
                                                              Special Processing Unit (SPU);
                         Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                        Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                   Administration (SIRVA)
    HUMAN SERVICES,

                        Respondent.


Michael G. McLaren, Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN, for
petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On August 2, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of the influenza (“flu”) vaccine administered on
October 2, 2017. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.


1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On August 5, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent concludes that petitioner’s alleged injury is consistent with
a SIRVA, as defined on the Vaccine Injury Table. Id. at 3. Respondent further agrees
that petitioner suffered residual effects of her condition for more than six months. Id. at
3-4.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
